                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

UNITED STATES OF AMERICA                   |
                  Plaintiff,               |
           v.                              |       No. 18 CR 157-4
                                           |       Honorable John Z. Lee
DEON PUGH                                  |
                            Defendant      |

      PROPOSED DEFENSE JURY INSTRUCTION AND SURREPLY
                OPPOSING SANTIAGO PROFFER

Defendant Deon Pugh, by and through his counsel, Carl P. Clavelli hereby submits the

following proposed jury instruction in support of his Surreply Opposing the sufficiency

of the Santiago Proffer:

                                    Argument

      The defense instruction which follows requires a jury to differentiate between

conspiratorial liability pursuant to the Pinkerton line of cases, from which a jury may

determine the scope of a conspiracy to distribute controlled substances, and the

determination of drug type and quantity under the Guideline system which is

universally accepted to be a narrower inquiry and one that must be individualized. The

result would, in cases such as the Mason Indictment at bar, reduce the amount of a

controlled substance attributed to an individual defendant that was arguably distributed

as part of the conspiracy but found not to be a “jointly undertaken criminal activity.”

U.S.S.G. § 1B1.3 (2018). The potential evidence gleaned from the Complaint,


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discovery of Title III intercepted conversations disclosed to the defense and the

Government’s Santiago proffer reveals that much of Mason’s alleged drug distribution

activity was either part of an unrelated conspiracy with a named defendant acting as a

middleman with a named purchaser or simply an accumulation of buys and sells of

unknown origin and not part of the agreement to which Pugh attached himself as he

neither knew of, or benefitted from Mason’s various drug activities.

      Pugh filed a Response to the Santiago proffer which inter alia set out the narrow

time frame during which he and Mason had some relationship concerning drug

distribution including a clear-cut buyer-seller relationship during November, 2017. D.E.

568. Even under the Pinkerton regimen, Pugh would not be held liable for Mason’s

drug sales beyond his knowledge that were not reasonably foreseeable or were not made

during the period of his membership in the conspiracy shown by the evidence at trial.

United States v. Cruse, 805 F.3d 795, 817 (7th Cir. 2015)( citing, Pinkerton v. United

States, 328 U.S. 640, 647-48 (1946)). However, as argued there, at sentencing a Court

will assess relevant conduct under the Guidelines’ regimen; various courts and arguably

the Seventh Circuit recognize that the inquiry during a trial, when appropriate, must

dovetail and be consistent with that more narrow procedure. The Government seems to

acknowledge this in its Reply. D.E. 579 at 10-11. But then goes on to dismiss the entire

defense argument as “meritless” and “two separate and distinct analyses.” Id. Also,

while admitting the presence of evidence from a pole camera the Government fails to



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address the assertion that there is no footage establishing the presence of Twyman and

Pugh at Mason’s residence at the same time. Id at 3, 4, 9 at N. 8, compare with Pugh’s

Response at 15.

      When the Government blithely dismisses half of Pugh’s argument without citation

to authority as concerning only sentencing issues, it totally misconstrues its own

Indictment and the charge in Count One. Pugh presented a realistic view of the evidence

and certainly admits that there is evidence of his guilt found in the Santiago proffer. D.E.

541. It is certainly relevant to his guilt however, to argue against the admissibility of

evidence, such as to the fentanyl deal of December 6, 2017, when more than a dozen

conversations between Pugh and Mason during that relevant period never concern such a

transaction. The Government has not alleged any evidentiary support beyond

membership in a conspiracy to hold Pugh individually responsible for this distribution of

fentanyl, though it is part of the enhanced conspiracy found in Count One. Pugh reasoned

that their should be some evidence linking this transaction to him before the hearsay

exception would allow evidence of others’ involvement in this fentanyl purchase to be

admitted against him. Pugh Response at 13-17, 25.

      Since at least the decision in Alleyne v. United States, 570 U.S. 99 (2013),

allegations of a mixture containing at least 400 grams of fentanyl and also over a kilo of

heroin as found in Count One pursuant to § 841(b)(1)(A) must be established at trial by

proof beyond a reasonable doubt as the type of drug and quantity are elements of the



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charged conspiracy and must be supported buy proof beyond a reasonable doubt. See,

e.g., United States v. Fincher, 929 F.3d 501, 503 (7th Cir. 2019). By adding these

enhancements to the conspiracy charge the only rational approach is the same one that a

judge would make albeit under the lesser standard of a preponderance, the narrower

scope provided by a relevant conduct analysis. See, e.g., United States v. Davison, 761

F.3d 683, 685-86 (7th Cir. 2014); Pugh’s Response at 19-21. Were the relevant conduct

standard not applicable to determine the scope of hearsay evidence admissible and not

available to a properly instructed jury, a defendant could be held responsible for a

distribution of a drug type (fentanyl) and a quantity for which he cannot otherwise be

held liable in his individual capacity because the drugs were not part of a jointly

undertaken criminal activity which was reasonably foreseeable to him. Allowing such

hearsay evidence here, and under those circumstances outlined in the limited case law

found in the prosecutions’ submissions would deprive Pugh of his Fifth and Sixth

Amendment rights to due process and a fair trial.

     A recent decision from the D.C. Circuit, United States v. Stoddard, 892 F.3d 1203

(D.C. Cir. 2018), provides background and insight to the changes in the law since the

decision in United States v. Santiago, 582 F.2d 1128 (7th Cir. 1978). In Stoddard, two

defendants were sentenced to the mandatory minimum sentence attributed to the

distribution of at least 100 grams of a mixture containing heroin. The argued that the

issue of their individual responsibility for their distribution of heroin should have been



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submitted to the jury and not just the quantity distributed by the conspiracy as a whole.

United States v. Stoddard, supra, 892 F.3d at 1218-19. This is the very position staked

out here by the prosecution and rejected in Stoddard. The Court recognized that the

circuits were split on this issue but noted that the split had begun to dissipate since the

Alleyne decision. Id. at 1220. The Seventh Circuit decision cited, United States v.

Knight, 342 F.3d 697, 710 (7th Cir. 2003), specifically relied upon the rationale from

Edwards v. United States, 523 U.S. 511 (1998) which is no longer viable after Alleyne.

Indeed, the Seventh circuit has already recognized that membership in a charged and

proven conspiracy does not expose each coconspirator to a § 841(b) enhancement. See,

United States v. Walker, 721 F.3d 828, 833-36 (7th Cir. 2013), vacated on other grounds,

572 U.S. 1111 (2014), affirmed on remand, United States v. Lawler, 818 F.3d 281 (7th

Cir. 2016); Pugh’s Response at 22-23.

     Though decided in a different era, the purpose of the inquiry outlined in United States

v. Santiago, supra, was to eliminate the prejudice to a defendant from the conditional

admission of hearsay evidence until such time as the evidence established a defendant’s

membership in a conspiracy. Now that individualized findings in drug conspiracies due to

the unique formulation of § 841 by Congress are required in lieu of the conspiracy-wide

approach, the Santiago inquiry must be adjusted to include only drugs distributed by means

of a “jointly undertaken criminal activity.” Cf. Burrage v. United States, 571 U.S. 204,

208-10 (2014). This Court is guided by the decision in United States v. Soto-Piedra, 525



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F.3d 527, 531 (7th Cir. 2008), which held that a defendant is personally responsible for “all

reasonably foreseeable acts and omissions of others in furtherance of the jointly undertaken

criminal activity.” Cf. Pugh Response at 17-18. This standard has been recognized to be

decisively more narrow than the prior Pinkerton standard which engulfed the entire

conspiracy and was not limited to joint undertakings.

    Unfortunately, the Seventh Circuit Pattern Jury Instructions were promulgated in

2012, before the decision in Alleyne and do not advise the jury that a defendant is only

responsible for jointly undertaken criminal activity. The proffered instruction attached

hereto supplements the Pattern Instruction found at 5.11 to include the requirement that

the co-conspirators criminal activity must be reasonably foreseeable and part of a joint

undertaking in order to be added to the individualized drug determination. As held in

United States v. Salem, 597 F.3d 877, 885 (7th Cir. 2010), “the mere foreseeability of

another’s conduct is not sufficient to bring that conduct within the scope of a defendant’s

jointly undertaken criminal activity.” See also, United States v. Patton, 927 F.3d 1087,

1094 (7th Cir. 2019); United States v. Torres, 869 F.3d 1089, 1105, 1107 (9th Cir.

2017)(A jury must be informed to consider only “conduct in furtherance of the jointly

undertaken criminal activity,” “the same standard [] applied when sentencing for a

conspiracy under § 841(b) as under the Guidelines.”). Cf. Pugh Response at 20-23.

    To hold otherwise would lead to untenable results and deprive a defendant of due

process and a fair trial. Even though any fact which increases a defendant’s exposure to



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a greater sentence must be submitted to a jury, a judge at sentencing remains mandated

to perform a relevant conduct review of a convicted defendant’s criminal activities

utilizing the standard of a preponderance and may, in doing so, increase the quantity of

drugs attributable to an individual defendant over and above that found in a jury’s

special verdict. See, e.g., United States v. Sanders, 826 F.3d 363, 373-75 (7th Cir. 2016).

However, if while employing the narrower approach a sentencing judge concluded that a

defendant’s jointly undertaken activities did not include a type charged or the quantity

found in the verdict of the jury, and did not vacate that unsupported jury finding, a

defendant would receive a sentence greater than his conduct warranted. In order to avoid

a factual disagreement with the findings of a jury, then, that jury must be properly

instructed to hold a defendant individually responsible only for controlled substances

distributed by means of a jointly undertaken criminal activity. To this end, the defendant

Pugh proffers the attached defense instruction to augment the Pattern Instructions to be

consistent with the teachings of the Seventh Circuit as stated herein.

    As argued in his Response to the Santiago proffer, Pugh and Mason were not

partners and were never on the same side of a drug purchase splitting the proceeds from

subsequent sales. Pugh was not involved in any manner with the December 6, 2017,

purchase of a mixture containing 400 grams of fentanyl, or the sales to CS 1, ‘Poo’,

Nemo, Tow Truck or Mason’s many other drug customers and sources known to only to

him. See, Pugh Response at 4, 12-14. Pugh also acknowledged five-fifty gram purchases



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from Mason all to the same customer who’s identity was not disclosed to Mason who

did not sell the heroin to Pugh on consignment and who had no financial interest in the

consummation of the sales. Id. at 16, 25-27; see also, United States v. Cruse, 805 F.3d

795, 811-16 (7th Cir. 2015). Permitting evidence of drug transactions for which Pugh had

no participation would be a legal error requiring a reversal of any subsequent verdict.

       Respectfully submitted,

                                                    S// Carl P. Clavelli
                                                    Carl P. Clavelli
                                                    1420 Renaissance Drive, Suite 213
                                                    Park Ridge IL 60068
                                                    (312) 953-8165
                                                    Attorney for Deon Pugh


                          CERTIFICATE OF SERVICE

       I hereby certify that I filed and served the foregoing Proposed Defense Jury
Instruction on opposing counsel using the Court’s CM/ECF electronic filing
system.

                                             S/ Carl P. Clavelli
                                             Carl P. Clavelli




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Special Verdict Form

 During this stage of your deliberations you will be called upon to determine the
quantity and type of controlled substance each defendant already determined to
be a member of the conspiracy charged in Count One is to be held accountable
for as part of his agreement to join the proven conspiracy.

 You should include as part of the quantity and type of controlled substances
only those amounts shown beyond a reasonable doubt to have been distributed
during and as part of the proven conspiracy and which are also attributable to a
jointly undertaken criminal activity or plan undertaken by that defendant; all
reasonably foreseeable acts of others that are in furtherance of the jointly
undertaken criminal activity should be included.




U.S.S.G. § 1B1.3
United States v. Davison, 761 F.3d 683, 685-86 (7th Cir. 2014)
United States v. Torres, 869 F.3d 1089, 1105 (9th Cir. 2017)
United States v. Walker, 721 F.3d 828, 833-36 (7th Cir. 2013), vacated on other
grounds, 572 U.S. 1111 (2014), affirmed on remand, United States v. Lawler,
818 F.3d 281 (7th Cir. 2016);
United States v. Patton, 927 F.3d 1087, 1091 (10th Cir. 2019)
United States v. Torres, 869 F.3d 1089, 1105 (9th Cir. 2017).




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